Case 2:09-cv-00281-J-BB Document68  Filed07/14/11 Pageiof4 PagelD 618

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
HENRY WATKINS SKINNER, )
)
Plaintiff, )
)
Vs. ) Civil Action No. 2:09-CV-00281
)
LYNN SWITZER, District Attorney )
for the 31st Judicial District )
of Texas, )
)
Defendant. )

PLAINTIFF’S CROSS-MOTION
FOR PARTIAL SUMMARY JUDGMENT

Pursuant to Fed. R. Civ. P. 56(a) and Local Rule 56.3, Plaintiff Henry Watkins Skinner
hereby moves for summary judgment on the first of the two claims for relief set forth in his
Complaint. Plaintiff respectfully submits that there are no disputed issues of fact regarding that
claim and that Plaintiff is entitled to summary judgment as a matter of law, for all the reasons set
forth in Section II of Plaintiff's Brief in Opposition to Defendant’s Motion for Summary
Judgment and in Support of Plaintiff's Motion for Partial Summary Judgment, filed
simultaneously with this motion. Plaintiff also is filing with this motion a proposed order.

Respectfully submitted,

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ROBERT C. OWEN
Texas Bar No. 15371950
Owen & Rountree, L.L.P.
P.O. Box 40428

Case 2:09-cv-00281-J-BB Document68  Filed07/14/11 Page2of4 PagelD 619

Austin, Texas 78704
Phone: (512) 232-9391
Fax: (512) 804-2685
robowenlaw@gmail.com

DOUGLAS G. ROBINSON
1440 New York Avenue, N.W.
Washington, D.C. 20005

Phone: (202) 371-7800

Fax: (202) 371-7168
douglas.robinson@skadden.com

MARIA CRUZ MELENDEZ

Four Times Square

New York, NY 10036-6522
Phone: (212) 735-2435

Fax: (212) 735-2000
maria.cruzmelendez@skadden.com

Counsel for Plaintiff

Date: July 14, 2011
Case 2:09-cv-00281-J-BB Document68 Filed07/14/11 Page3o0f4 PagelD 620

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ORDER

The Court, having considered the Defendant’s Motion for Summary Judgment, the
Plaintiff's Cross-Motion for Partial Summary Judgment, and all of the briefs, appendices and
other supporting or opposing documentation submitted by the parties in connection therewith,
ORDERS as follows:

Defendant’s Motion for Summary Judgment is DENIED. Plaintiffs Cross-Motion for
Partial Summary Judgment is GRANTED. Judgment shall be entered for Plaintiff with regard to
the first cause of action set forth in his complaint.

Entered this _ day of , 2011.

United States District Judge

985455-DC-2A
Case 2:09-cv-00281-J-BB Document68  Filed07/14/11 Page4of4 PagelD 621

CERTIFICATE OF SERVICE
On July 14, 2011, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, Amarillo Division, using the
electronic case filing system of the Court. I hereby certify that I have served all counsel of

record electronically in accordance with Federal Rule of Civil Procedure 5(b)(2)(E).

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Robert C. Owen

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